      Case 2:21-cv-00618-WHA-CSC Document 6 Filed 10/18/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

FREDERICK DWIGHT JONES,                   )
AIS #157783,                              )
                                          )
       Plaintiff,                         )
                                          )
       v.                                 ) CASE NO. 2:21-CV-618-WHA-CSC
                                          )
TERRY ANTHONY, et al.,                    )
                                          )
       Defendants.                        )


                                        OPINION

       Now before the Court is the Recommendation of the Magistrate Judge that

recommends Plaintiff’s Complaint be dismissed prior to service of process under 28 U.S.C.

§ 1915(e)(2)(B)(i-iii). Doc. 4. Plaintiff has filed objections. Doc. 5. Based upon an

independent and de novo review of those portions of the Recommendation to which

objection is made, 28 U.S.C. § 636(b), the Court finds the Recommendation adequately

addresses and properly rejects the grounds for Plaintiff’s objections without need for

further elaboration and that the objections lack merit.

       Accordingly, the Court concludes that the objections (Doc. 5) should be

OVERRULED and the Recommendation of the Magistrate Judge (Doc. 4) ADOPTED.

       An appropriate judgment will be entered.

       Done, this 18th day of October 2021.

                                   /s/ W. Harold Albritton
                                   W. HAROLD ALBRITTON
                                   SENIOR UNITED STATES DISTRICT JUDGE
